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                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF OKLAHOMA                                 Filed/Docketed
                                                                                         Oct 23, 2019
In Re:                                                 )
                                                       )
Billy Gene Eddy, Jr.., and,                            )      Case No. 17-11097-R
Reliable Building Services, LLC,                       )      Chapter 7
                                                       )      Substantively Consolidated
                                        Debtors.       )

ORDER GRANTING MOTION TO APPROVE COMPROMISE OF CONTROVERSIES
                      (Blue Chip Supply, LLC)

         This Court, upon review of the Request for Entry of Order (“Request”), the Motion to

Approve Compromise of Controversies and Notice of Opportunity for Hearing (the “Motion”),

and the pleadings on file in this case, finds as follows:

         1.     The Trustee filed his Motion on September 17, 2019.

         2.     In the Motion, the Trustee sought approval of the settlement between the Trustee

and Blue Chip Supply, LLC (“Blue Chip”) regarding the avoidance, defenses, and recovery of an

alleged preferential transfer in the amount of $29,761.69.

         3.     Pursuant to the Motion, in summary, the settlement terms are:

                a.     Blue Chip will pay the Trustee the sum of $2,500.00;
                b.     Blue Chip shall not have an unsecured claim in this bankruptcy case;
                c.     The Trustee will release any and all claims against Blue Chip and Blue Chip
                       will release any and claims against the bankruptcy estate and the Trustee;
                d.     The parties shall bear their own costs and expenses in prosecuting and/or
                       defending the same; and
                e.     The Trustee will dismiss the Adversary with prejudice.

         4.     A copy of the Motion was mailed on September 17, 2019 to those creditors and

parties in interest as set forth in the Order Limiting Notice (Preference Settlement Motions) entered

February 6, 2019. Other interested parties received notice via CM/ECF.

         5.     The time for filing with the Court an objection to the Motion and Notice has expired

and no objections have been filed or received by the Trustee.
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       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that notice of the

Motion was proper pursuant to F.R.Bankr.P. 2002(a)(3).

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the settlement

between the Trustee and Blue Chip is approved.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the Trustee is

authorized to enter into the Settlement Agreement attached as Exhibit “A”.

       SO ORDERED this 23rd day of October, 2019.



                                                            DANA L. RASURE, CHIEF JUDGE
                                                            UNITED STATES BANKRUPTCY COURT




Submitted by:

s/Scott P. Kirtley__________________
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